                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION

    UNITED STATES OF AMERICA,

                 Plaintiff,                               No. CR15-4034-LTS

    vs.
                                                                 ORDER
    HEATH MICHAEL WILLISON,

                 Defendant.

                              ___________________________



                                 I.     INTRODUCTION
          This case is before me on a motion (Doc. 48) for compassionate release filed by
defendant Heath Michael Willison through counsel.           The Government has filed a
resistance (Doc. 56). Oral argument is not necessary. See Local Rule 7(c).


                                  II.    BACKGROUND
          On January 19, 2016, United States District Judge Mark W. Bennett sentenced
Willison to 120 months’ imprisonment after he pleaded guilty to conspiracy to distribute
50 grams or more of actual methamphetamine in violation of 21 U.S.C. §§ 841(a)(1),
841(b)(1)(A) and 846. Doc. 37. According to the online Bureau of Prisons (BOP) inmate
locator, Willison is currently at Canaan USP in Waymart, Pennsylvania, and his projected
release date is January 20, 2024.1 He is 45 years old. Doc. 34 at 2.




1
  As of October 13, 2020, six inmates and five staff members had tested positive for COVID-19
at Canaan USP. See COVID-19 Cases, Bureau of Prisons, https://www.bop.gov/coronavirus/
(last visited October 13, 2020).


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                    III.   COMPASSIONATE RELEASE STANDARDS
       A court’s ability to modify a sentence after it has been imposed is extremely
limited. One way a court may modify a sentence is through “compassionate release” as
outlined in 18 U.S.C. § 3582(c)(1)(A), which was recently modified by the First Step
Act of 2018 (FSA). See Pub. L. No. 115-391, § 603. In the past, 18 U.S.C. §
3582(c)(1)(A) permitted a court to reduce a defendant’s term of imprisonment only upon
the motion of the Director of the BOP. The FSA modified § 3582(c)(1)(A) such that a
defendant may now directly petition the court “after the defendant has fully exhausted all
administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on the
defendant’s behalf or the lapse of 30 days from the receipt of such a request by the warden
of the defendant’s facility, whichever is earlier.” See Mohrbacher v. Ponce, No. CV18-
00513, 2019 WL 161727, at *1 (C.D. Cal. Jan. 10, 2019).
       If a defendant fully exhausts administrative remedies, the court may, upon motion
of the defendant, reduce the defendant’s sentence, after considering the factors set forth
in 18 U.S.C. § 3553(a) to the extent they are applicable, if the court finds that:
       (i) extraordinary and compelling reasons warrant such a reduction; or
       (ii) the defendant is at least 70 years of age, has served at least 30 years in
       prison, pursuant to a sentence imposed under section 3559(c), for the
       offense or offenses for which the defendant is currently imprisoned, and a
       determination has been made by the Director of the Bureau of Prisons that
       the defendant is not a danger to the safety of any other person or the
       community, as provided under section 3142(g);
       And that such a reduction is consistent with applicable policy statements
       issued by the Sentencing Commission . . .
18 U.S.C. § 3582(c)(1)(A).
       Willison does not meet the requirements of § 3582(c)(1)(A)(ii). He is under 70
years of age and has not served at least 30 years in prison pursuant to a sentence imposed
under 18 U.S.C. § 3559(c).           Thus, his only possible avenue for relief is §
3582(c)(2)(A)(i).



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      The starting point in determining what constitutes “extraordinary and compelling
reasons” under § 3582(c)(1)(A)(i) is the Sentencing Guideline discussing compassionate
release issued by the United States Sentencing Commission. See U.S.S.G. § 1B1.13
(U.S. Sentencing Comm’n 2018); see also United States v. Hall, No. CR98-7, 2019 WL
6829951, at *3 (E.D. Ky. Dec. 13, 2019); United States v. Rivernider, No. CR10-222,
2019 WL 3816671, at *2 (D. Conn. Aug. 14, 2019). The Guideline provides that
extraordinary and compelling reasons exist in the following circumstances:
      (A) Medical Condition of the Defendant.—
          (i) The defendant is suffering from a terminal illness (i.e., a serious
          and advanced illness with an end of life trajectory). A specific
          prognosis of life expectancy (i.e., a probability of death within a
          specific time period) is not required. Examples include metastatic
          solid-tumor cancer, amyotrophic lateral sclerosis (ALS), end-stage
          organ disease, and advanced dementia.
          (ii) The defendant is—
             (I) suffering from a serious physical or medical condition,
             (II) suffering from a serious functional or cognitive
             impairment, or
             (III) experiencing deteriorating physical or mental health
             because of the aging process,
          that substantially diminishes the ability of the defendant to provide
          self-care within the environment of a correctional facility and from
          which he or she is not expected to recover.
      (B) Age of the Defendant.—The defendant (i) is at least 65 years old; (ii) is
      experiencing a serious deterioration in physical or mental health because of
      the aging process; and (iii) has served at least 10 years or 75 percent of his
      or her term of imprisonment, whichever is less.
      (C) Family Circumstances.—
          (i) The death or incapacitation of the caregiver of the defendant's
          minor child or minor children.
          (ii) The incapacitation of the defendant's spouse or registered partner
          when the defendant would be the only available caregiver for the
          spouse or registered partner.


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      (D) Other Reasons.—As determined by the Director of the Bureau of
      Prisons, there exists in the defendant's case an extraordinary and
      compelling reason other than, or in combination with, the reasons described
      in subdivisions (A) through (C).
U.S.S.G. § 1B1.13 cmt. n.1.
      This Guideline predates the FSA and has “not been amended to reflect that, under
the FSA, a defendant may now move for compassionate release after exhausting
administrative remedies.” Rivernider, 2019 WL 3816671, at *2. Courts are split on
whether the policy statement is binding because it predates the FSA’s changes to 18
U.S.C. § 3582(c)(1)(A). A number of district courts have concluded that Guideline §
1B1.13 cmt. n.1 does not restrain a court’s assessment of whether extraordinary and
compelling reasons exist to release a defendant. See, e.g., United States v. Rodriguez,
424 F. Supp. 3d 674, 681 (N.D. Cal. 2019); United States v. Urkevich, No. CR03-37,
2019 WL 6037391, at *3 (D. Neb. Nov. 14, 2019); United States v. Brown, 411 F. Supp.
3d 446, 451 (S.D. Iowa 2019); United States v. Fox, No. CR14-03, 2019 WL 3046086,
at *3 (D. Me. July 11, 2019); United States v. Beck, 425 F. Supp. 3d 573, 579
(M.D.N.C. 2019); United States v. Cantu, 423 F. Supp. 3d 345, 352 (S.D. Tex. 2019).
Other courts have concluded that extraordinary and compelling reasons exist only if they
are included in the Guideline. See, e.g., United States v. Lynn, No. CR89-0072, 2019
WL 3805349, at *4 (S.D. Ala. Aug. 13, 2019).
      As I have previously stated, I agree with those courts that have found that although
the Guideline provides helpful guidance on what constitutes extraordinary and compelling
reasons, it is not conclusive given the recent statutory changes. See United States v.
Schmitt, No. CR12-4076-LTS, 2020 WL 96904, at *3 (N.D. Iowa Jan. 8, 2020); see
also Rodriguez, 424 F. Supp. 3d at 682 (Congress knew that the BOP rarely granted
compassionate release requests prior to the FSA, and the purpose of the FSA is to increase
the number of compassionate release requests granted by allowing defendants to file




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motions in district courts directly even after the BOP denies their request); Brown, 411
F. Supp. 3d at 451 (same).2


2
  The Eighth Circuit Court of Appeals has declined to expressly overrule the current version of
§ 1B1.13. But it has indicated that district courts should consider extraordinary and compelling
reasons outside the strict confines of § 1B1.13. In a case where the district court denied a
defendant’s compassionate release motion, the defendant argued the district court erred by
relying on the § 1B1.13 policy statements. In declining to consider that issue, the Eighth Circuit
noted that district court was clearly aware of the change of the law:

       While some courts adhere to “the pre-First Step Act policy statements,” “[o]ther
       courts [have] ruled that the pre-First Step Act policy statements are inapplicable,
       and that a judge has discretion to determine, at least until the Sentencing
       Commission acts, what qualifies as ‘extraordinary and compelling reasons.’” Id.
       (citing United States v. Brown, 411 F. Supp. 3d 446, 448–51 (S.D. Iowa Oct. 8,
       2019)). . .

       After analyzing whether Rodd satisfied the “extraordinary and compelling
       reasons” criteria set forth in § 1B1.13, the district court assumed that Rodd
       satisfied a more expansive definition of the phrase and analyzed the
       compassionate-release motion under 18 U.S.C. § 3553(a). Specifically, the court
       stated, “Even assuming Congress intended to expand the use of compassionate
       release with the First Step Act, the Section 3553(a) factors present at sentencing
       have not changed. Rodd does not qualify for compassionate release.” Id.

United States v. Rodd, No. 19-3498, 2020 WL 4006427, at *4–5 (8th Cir. July 16, 2020). The
Eighth Circuit went on to find that:

       We need not determine whether the district court erred in adhering to the policy
       statements in § 1B1.13. The district court knew its discretion. It expressly stated
       that “[e]ven assuming Congress intended to expand the use of compassionate
       release with the First Step Act, the Section 3553(a) factors present at sentencing
       have not changed” and, as a result, “Rodd does not qualify for compassionate
       release.” Rodd, 2019 WL 5623973, at *4; see also id. (“[E]ven assuming a more
       expansive definition of ‘extraordinary and compelling reasons’ under the First
       Step Act, Rodd’s Motion is denied.”). In other words, the district court assumed
       that Rodd’s health and family concerns constituted extraordinary and compelling
       reasons for compassionate release. Therefore, we need only determine “whether
       the district court abused its discretion in determining that the § 3553(a) factors
       weigh against granting [Rodd’s] immediate release.”

Rodd, 2020 WL 4006427, at *6. In a footnote, the Eighth Circuit also observed that, “‘[a]s the
Sentencing Commission lacks a quorum to amend the U.S. Sentencing Guidelines, it seems
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                                     IV.     DISCUSSION
A.     Exhaustion of Administrative Remedies
       Willison submitted an administrative request for compassionate release to his
warden on July 26, 2020, which was denied. Doc. 48-1; Doc. 53-1. He filed this motion
(Doc. 48) through counsel on September 9, 2020.                  I find he has exhausted his
administrative remedies as required by § 3582(c)(1)(A).


B.     Extraordinary and Compelling Reasons
       Willison argues that the threat the COVID-19 pandemic poses to him, in light of
his particular health issues, constitutes extraordinary and compelling reasons. Willison,
who is 45 years old, states that he was born with “anencephaly hydrocephalus,”3 for
which he has undergone numerous brain surgeries during his life, most recently in
September 2019. Doc. 48 at 2–3. He states he has had his right eye removed and suffers
from reduced vision in his left eye. Id. at 3. He states he suffers from hypertension and




unlikely there will be a policy statement applicable to [compassionate-release] motions brought
by defendants in the near future.’ United States v. Beck, 425 F. Supp. 3d 573, 579 n.7
(M.D.N.C. 2019).” Id. at *5 n.7; see also United States v. Loggins, No. 19-2689, 2020 WL
4375103, at *2 (8th Cir. July 31, 2020) (where the Eighth Circuit observed that § 1B1.13 does
not reflect the current version of the compassionate release statute, but found no error because
“[w]here the [district] court expressly considered post-sentencing rehabilitation (a circumstance
not listed in § 1B1.13), the more natural inference is that the court did not feel constrained by
the circumstances enumerated in the policy statement, but simply found that a non-retroactive
change in [sentencing] law did not support a finding of extraordinary or compelling reasons for
release.”

3
  “Anencephaly” and “hydrocephalus” appear to be two distinct conditions. Cephalic Disorders,
Johns       Hopkins      Medicine,       https://www.hopkinsmedicine.org/health/conditions-and-
diseases/cephalic-disorders (last visited Oct. 13, 2020). Anencephaly is a condition in which the
top of a fetus’ neural tube does not close during pregnancy, leading to missing parts of the brain,
skull and scalp. Id. Hydrocephalus is a condition in which cerebrospinal fluid accumulates in
the brain’s ventricles. Id. Willison’s medical records indicate hydrocephalus is the condition
for which he has continued to receive treatment into adulthood. Doc. 48 at 3–4.

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numerous pulmonary conditions including acute respiratory failure with hypoxia, 4
pneumonitis,5 acute respiratory decompensation,6 chronic obstructive pulmonary disease
(COPD)7 and patchy airspace disease.8 Id. at 4.
       Willison further states that he has an intelligence quotient (IQ) of 78, indicating
cognitive impairment. Id. at 5. He states that this impairment makes it difficult for him
to communicate his medical needs to BOP staff. Id. Lastly, he states he has a history of
mental illness, twice attempting to commit suicide since 2010.               Id.   In addition to
Willison’s pleadings, his medical records indicate he is hearing-impaired and has reduced
mobility, struggling to walk and needing a wheelchair at times. Doc. 56-3 at 1, 3. And
while he states he last had surgery in September 2019, records indicate he has undergone
surgical procedures in the spring and summer of 2020 related to the shunts placed in his
brain for treating hydrocephalus, along with additional hospitalizations for ensuing




4
  Acute respiratory failure leads to insufficient oxygen reaching the brain, heart or other parts of
the body.       What to know about acute respiratory failure, Medical News Today,
https://www.medicalnewstoday.com/articles/324528 (last visited Oct. 13, 2020). Hypoxia
indicates that the individual has low oxygen levels. Id.
5
 Pneumonitis refers to inflammation or irritation of the lungs. What is Pneumonitis?, WebMD,
https://www.webmd.com/lung/what-is-pneumonitis (last visited Oct. 13, 2020).
6
 Decompensation refers to an organ’s loss of function. Decompensation, MERRIAM-WEBSTER,
https://www.merriam-webster.com/dictionary/decompensation (last visited Oct. 13, 2020).
7
 COPD refers to a group of conditions causing airflow blockage and problems breathing. Basics
about COPD, CDC, https://www.cdc.gov/copd/basics-about.html (last visited Oct. 13, 2020).

8
  Patchy airspace disease refers to air-space opacification. Jeremy Jones et al., Air-space
opacification (summary), Radiopaedia, https://radiopaedia.org/articles/air-space-opacification-
summary-1?lang=us (last visited Oct. 13, 2020). This is a phenomenon in radiology in which
lung x-rays reflect pulmonary consolidation, a condition in which material, such as pus, blood
or cells, fills the lungs’ airways and makes breathing harder. Id.; see also Lung Consolidation:
What It Is and How It’s Treated, Healthline, https://www.healthline.com/health/lung-
consolidation (last visited Oct. 13, 2020).

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complications. Id. at 1; Doc. 56-6 at 45, 109; Doc. 56-7 at 2; Doc. 56-8 at 10–11; Doc.
56-9 at 40.
       The Centers for Disease Control and Prevention (CDC) list categories of people
with underlying medical conditions who are or might be at a higher risk of severe illness
from COVID-19.9 COPD is listed as a condition that increases an individual’s risk of
severe illness from COVID-19, while hypertension is listed as a condition that might
increase an individual’s risk of severe illness from COVID-19.
       The Government acknowledges that the CDC lists COPD as a condition presenting
a higher risk for more severe reaction to COVID-19 and hypertension as a condition that
might present a higher risk. Doc. 56 at 12. But the Government argues that Willison
does not have a severe enough condition appropriate for compassionate release because
the BOP provides him adequate treatment. Id. at 13. The Government also notes that
he offers no release plan other than requesting to live with his mother in Milford,
Dickinson County, Iowa, and that Dickinson County has far more cases of COVID-19
than Canaan USP. Id. at 16.
       After reviewing Willison’s submitted medical records, I find no express diagnosis
of COPD.10 Indeed, a January 2020 medical record provides that he has no history of
COPD. Doc. 56-6 at 404. I nevertheless appreciate that his records do expressly provide
he suffers from numerous pulmonary issues, such as respiratory failure and pneumonitis,




9
  People with Certain Medical Conditions, CDC, https://www.cdc.gov/coronavirus/2019-
ncov/need-extra-precautions/people-with-medical-conditions.html (last visited Oct. 13, 2020).
10
   COPD refers to a group of diseases that affect air flow, most commonly emphysema and
chronic bronchitis. See Basics about COPD, CDC, https://www.cdc.gov/copd/basics-
about.html      (last   visited    Oct.     13,     2020);    COPD,       Mayo      Clinic,
https://www.mayoclinic.org/diseases-conditions/copd/symptoms-causes/syc-20353679      (last
visited Oct. 13, 2020). Willison’s medical records do not expressly indicate he has COPD,
emphysema or chronic bronchitis.


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conditions producing the same or similar symptoms as COPD. 11 See, e.g., Doc. 54-1 at
48.
       Regardless of the express diagnosis, there appears to be no dispute that Willison’s
pulmonary conditions would increase his risk of serious illness if he were infected with
COVID-19.       While I appreciate the BOP has taken many measures to prevent the
transmission of COVID-19 among its inmate population,12 the virus has nonetheless
spread through many BOP facilities.13 As of October 13, 2020, of the 126,162 inmates
in BOP-managed institutions and 14,267 in community-based facilities, 15,589 have
tested positive.14 This corresponds to an infection rate across BOP facilities of 11%. The
national infection rate is 2%.15 As of October 13, 2020, six inmates and five staff



11
   Compare Basics about COPD, CDC, https://www.cdc.gov/copd/basics-about.html (last
visited Oct. 13, 2020) (describing COPD’s symptoms as including coughing, shortness of breath
and     difficulty   taking     deep   breaths)    with    Respiratory    Failure,     WebMD,
https://www.webmd.com/lung/acute-chronic-respiratory-failure (last visited Oct. 5 2020)
(describing respiratory failure’s symptoms as including shortness of breath and inability to take
in enough air) and What is Pneumonitis?, WebMD, https://www.webmd.com/lung/what-is-
pneumonitis (last visited Oct. 13, 2020) (describing pneumonitis’ symptoms as including
coughing and difficulty breathing).

12
  According to the BOP’s website, those measures have included limiting inmate movement
within each facility and between facilities, suspending visits, suspending staff training and travel,
screening staff and inmates for COVID-19 symptoms and modifying operations to maximum
social distancing to the extent possible. BOP Implementing Modified Operations, Bureau of
Prisons, https://www.bop.gov/coronavirus/covid19_status.jsp (last visited Oct. 13, 2020).
13
  Other BOP facilities have experienced COVID-19 outbreaks. For example, as of October 13,
2020, 1305 inmates, or 75% of inmates, have tested positive for COVID-19 at Seagoville FCI,
4 of whom have died. At Terminal Island FCI, 600 inmates, or 71% of inmates, have tested
positive, 10 of whom have died.                 COVID-19 Cases, Bureau of Prisons,
https://www.bop.gov/coronavirus/ (last visited Oct. 13, 2020).

 COVID-19 Cases, Bureau of Prisons, https://www.bop.gov/coronavirus/ (last visited Oct. 13,
14

2020).
15
 This is based on 7,787,548 COVID-19 cases and a population of 330,442,164. See COVID
Data Tracker, CDC, https://www.cdc.gov/covid-data-tracker/#cases (last visited Oct. 13,
                                                 9
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members had tested positive for COVID-19 at Willison’s facility.16 Thus, COVID-19 is
present at Canaan USP and Willison is at risk of contracting it.
       I also appreciate Willison’s overall physical condition appears to be deteriorating.
His vision, hearing and mobility are all impaired. Doc. 56-3 at 1, 3. His hydrocephalus
appears increasingly serious, necessitating surgical procedures and additional
hospitalizations for treating complications in the past year.17 Id. at 1. Episodes of
vomiting, gait changes, headaches and dizziness preceded these hospitalizations. See,
e.g., Doc. 56-6 at 52, 57, 110. One particularly severe episode comprised Willison being
unable to stand, walk, feed himself or access the toilet without assistance for
approximately two days. Id. at 163. On the other hand, I recognize that he may be
aggravating the severity of these symptoms in refusing to take some of his prescribed
medications.18 See, e.g., id. at 22, 31. Regardless, I find Willison’s deteriorating health
and his specific pulmonary conditions, when viewed in the context of the current COVID-
19 pandemic, constitute an extraordinary and compelling reason for release. 19 Therefore,
I will consider whether the remaining factors support granting Willison’s motion.




2020); U.S. and World Population Clock, United                     States   Census     Bureau,
https://www.census.gov/popclock/ (last visited Oct. 13, 2020).
16
  COVID-19 Cases, Bureau of Prisons, https://www.bop.gov/coronavirus/ (last visited Oct. 13,
2020).
17
  A BOP medical record provides his prognosis is “guarded.” Doc. 56-3 at 1. A guarded
prognosis is a “prognosis given by a physician when the outcome of a patient’s illness is in
doubt.”           Guarded      prognosis,  The      Free       Dictionary,    https://medical-
dictionary.thefreedictionary.com/guarded+prognosis (last visited Oct. 13, 2020).
18
   It appears Willison at times refuses his medications to protest the BOP’s alleged failure to
provide him hearing aids. See, e.g., Doc. 56-6 at 33, 63. A BOP medical record deems him
fairly compliant in taking his medications and adhering to recommended treatment. Doc. 56-3
at 1.
19
  Willison’s deteriorating health conditions would arguably constitute extraordinary and
compelling reasons even absent the COVID-19 pandemic.
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C.     Section 3553(a) Factors and Danger to Community
       Guideline § 1B1.13(2) provides that compassionate release is appropriate only
where “the defendant is not a danger to the safety of any other person or to the
community, as provided in 18 U.S.C. § 3142(g)[.]” Additionally, § 3582(c)(1)(A)
requires a court to consider the factors set forth in 18 U.S.C. § 3553(a) before granting
a motion for compassionate release. Section 3553(a) requires that I consider:

       (1) the nature and circumstances of the offense and the history and
       characteristics of the defendant;
       (2) the need for the sentence imposed—
          (A) to reflect the seriousness of the offense, to promote respect for
          the law, and to provide just punishment for the offense;
          (B) to afford adequate deterrence to criminal conduct;
          (C) to protect the public from further crimes of the defendant; and
          (D) to provide the defendant with needed educational or vocational
          training, medical care, or other correctional treatment in the most
          effective manner;
       (3) the kinds of sentences available;
       (4) the kinds of sentence and the sentencing range established for—
          (A) the applicable category of offense committed by the applicable
          category of defendant as set forth in the guidelines [issued by the
          Sentencing Commission . . .;]
       (5) any pertinent policy statement [issued by the Sentencing Commission .
       . .’]
       (6) the need to avoid unwarranted sentence disparities among defendants
       with similar records who have been found guilty of similar conduct; and
       (7) the need to provide restitution to any victims of the offense.
18 U.S.C. § 3553(a).
       The Government argues the § 3553(a) factors weigh against a sentence reduction,
citing Willison’s offense conduct, criminal history and incarceration record. Doc. 56 at
14.   The Government also argues granting his motion would engender sentencing



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disparities because Judge Bennett sentenced him to the mandatory minimum. Id. at 14–
15.
       Willison’s offense conduct is serious. The Government conducted four controlled
buys in which Willison sold 5.6 grams of actual methamphetamine. Doc. 34 at 3, ¶ 5.
He stipulated to distributing 50 to 150 grams of actual methamphetamine. Id. at 4, ¶ 7.
While distributing any quantity of methamphetamine is dangerous, I recognize Willison
is far from a drug kingpin. As both the Government and Willison’s counsel stated during
sentencing, he dealt in grams. Doc. 41 at 4, 7. In the context of drug trafficking cases
that come before this court, Willison was a run-of-the-mill dealer. However, his offense
was more aggravating because it occurred while Willison was on parole for two prior
controlled substance offenses. Doc. 34 at 10, ¶¶ 42–43, 46.
       Those convictions are only two in Willison’s lengthy and sometimes-violent
criminal history. He was scored with 17 criminal history points, well above the level
necessary to qualify as a criminal history category VI. Id. at 11, ¶ 47. His violent
offenses include three convictions for domestic abuse assault 20 and a conviction for assault
on peace officers and others. Id. at 6-7, ¶¶ 28–31. While these offenses are extremely
troubling, I note that the most recent occurred in 2001. Since then, almost all of
Willison’s offenses relate to possessing or distributing controlled substances. 21 Id. at 7–
11, ¶¶ 32–43. This history led to his classification as a career offender and an advisory
sentencing guidelines range of 262 to 327 months in prison. Id. at 5, 17 ¶¶ 18, 87.
       Willison’s prior controlled substance offenses seem to have involved dealing
similarly small quantities of controlled substances as he did in the instant offense. See,
e.g., id. at 10, ¶ 42 (offense involving 5 grams or less of methamphetamine). Judge


20
  One of these domestic abuse assaults involved Willison striking his live-in girlfriend in the
head and neck repeatedly, causing injuries that required treatment at a hospital. Doc. 34 at 7, ¶
31.
21
   Willison also has a 2005 conviction (Doc. 34 at 9, ¶ 38) for operating a vehicle while
intoxicated and a 2012 conviction (Id. at 11, ¶ 43) for unlawful burning.
                                               12
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Bennett characterized Willison as an “extremely low-level drug dealer,” and granted a
downward variance in part because he determined that the guidelines range produced by
the career offender enhancement “substantially overstate[d]” what would be sufficient
punishment. Doc. 41 at 11, 12.
      There are other mitigating factors, particularly Willison’s motive and his impaired
cognitive abilities. Regarding his motive, at sentencing the Government acknowledged
that Willison explained his dealing as him “lik[ing] to help people out.”      Id. at 7.
Willison’s mother wrote a letter in which she stated he engages in this conduct because
he thinks he is making friends and then these friends take advantage of him. Doc. 33-3
at 3. The Government stated that Willison’s mother was “probably correct” in her
assessment. Doc. 41 at 7. Judge Bennett concluded Willison derived “very little personal
gain” from his dealing. Doc. 41 at 11. However misguided or naive this motive may
be, it is less aggravating a motive than when individuals engage in criminal behavior out
of greed or other purely selfish reasons. See, e.g., United States v. Mathison, No. CR06-
4030-LTS, 2020 WL 3263042, at *9 (N.D. Iowa June 17, 2020) (denying motion for
compassionate release in part because greed motivated defendant’s actions). I also note
Willison using methamphetamine and marijuana appears to have contributed to his
conduct. Doc. 34 at 15, ¶¶ 75–76. Indeed, at sentencing, the Government stated
Willison may have dealt in part to “feed his own habit.” Doc. 41 at 7. While his own
substance abuse does not excuse his conduct, it does provide context. See United States
v. Campbell, No. CR03-4020-LTS, 2020 U.S. Dist. LEXIS 136530, at *18 (July 31,
2020) (recognizing defendant’s addictions partly drove his criminal behavior in deciding
to grant compassionate release).
      As for Willison’s impaired cognitive capabilities, in 1990 a school psychologist
reported that Willison had an IQ of 78, placing him in the “borderline range” of mental
disability or “minimal mental disability.” Doc. 33-2 at 2. Willison was placed in special
education classes throughout school. Doc. 34 at 16, ¶ 78. However, a psychologist who
evaluated Willison to determine his competence to stand trial diagnosed him with
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antisocial personality disorder and malingering, indicating he may exaggerate his
limitations at times.22 Doc. 19-1 at 11. How his cognitive functioning impacts his
behavior became more concrete at sentencing: The Government stated Willison is “in a
niche of people who take advantage of him.” Doc. 41 at 7. Judge Bennett found him to
be “extremely easily manipulated by others to do things including illegal conduct . . . .”
Id. at 15. He concluded that Willison has “limited intellectual functioning.” Id. at 11.
          As the Supreme Court has stated in the context of death penalty litigation,
“impaired intellectual functioning is inherently mitigating.” Tennard v. Dretke, 542 U.S.
274, 287 (2004). While this case is not a death penalty case and Willison may not be as
impaired as some of those cases’ defendants, the relationship between cognitive
capabilities and culpability remains relevant because “the severity of the appropriate
punishment necessarily depends on the culpability of the offender.” Atkins v. Virginia,
536 U.S. 304, 319 (2002). When a defendant is cognitively impaired, he or she is less
culpable, even if only to a degree. His or her punishment should reflect this reduced
culpability.     Id.   As noted above, Judge Bennett did, in fact, consider Willison’s
intellectual functioning when determining his sentence, taking it into account in granting
a downward variance of more than 11 years.
          Unfortunately, Willison’s disciplinary record in prison is aggravating – especially
given his violent past. He has had four disciplinary infractions: possessing a dangerous
weapon (a lock inside a sock), fighting with another inmate, threatening bodily harm
(balling his fists and stating, “I’m going to have something done” and “You don’t know
what I’m capable of”) and refusing to obey an order.23 Doc. 56-5 at 1–2. The weapon
and fighting infractions are the most serious and the most recent, occurring on January
18, 2018. Id. at 1. Willison has also, at times, not cooperated with BOP officials

22
  The report is qualified in that Willison’s limited eyesight prevented the administration of most
traditional psychological tests. Doc. 19-1 at 3.
23
     Regarding the fourth infraction, Willison claims he did not hear the order. Doc. 56-5 at 2.

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attempting to administer prescribed medication.24 See, e.g., Doc. 56-6 at 22, 31. While
I appreciate that Willison has taken and completed various education courses, Doc. 56-4
at 1, his conduct while incarcerated is concerning.
       The Government also argues that because Judge Bennett granted Willison a
downward variance to the mandatory minimum sentence, releasing him before he serves
that minimum sentence would engender sentencing disparities. Doc. 56 at 14–15. In so
arguing, the Government emphasizes that Willison has served only approximately 50%
of his sentence. Id. at 14. This argument carries some weight. I acknowledge that Judge
Bennett made it clear that he would have imposed a lesser sentence if the law did not
require a sentence of 120 months, stating: “This is a classic case of why mandatory
minimums are a very bad idea . . . I would not impose a 120-month sentence which is
the mandatory minimum if I didn’t have to . . . .” Doc. 41 at 11. Nonetheless, Congress
exercised its Constitutional authority in determining that a sentence of 120 months is the
minimum a court may impose for Willison’s offense. While this does not preclude the
grant of compassionate release before a defendant has served at least the statutory
minimum sentence,25 it is a factor to consider – especially when a defendant has served
barely half of that amount of time.
       Regarding the need to protect the public, I am not convinced that Willison would
pose no threat to the public if released. This is based largely on his recidivist past and
disciplinary record in prison. While his health has deteriorated, he is only 45 years old
and is not so severely impaired as to be rendered immobile and incapable of committing
additional crimes, as he did on a regular basis before being sentenced in this case.

24
  As discussed, it appears Willison at times refuses his medications to protest the BOP’s alleged
failure to provide him hearing aids. See, e.g., Doc. 56-6 at 33, 63. A BOP medical review
deems him fairly compliant in taking his medications and adhering to recommended treatment.
Doc. 56-3 at 1.
25
  See, e.g., United States v. Schmitt, No. CR12-4076-LTS, 2020 WL 96904, at *6–7 (N.D.
Iowa Jan. 8, 2020); United States v. Bess, No. CR16-156-LJV, 2020 WL 1940809, at *11 n.11
(W.D.N.Y. Apr. 22, 2020) (collecting cases).
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       Willison’s situation is sympathetic. However, he committed a serious federal
felony drug offense while already under court supervision for prior offenses and has a
lengthy criminal history that caused him to qualify as a career offender and includes
numerous acts of violence. He has served only about half of the statutory minimum
sentence he received and has had disciplinary issues while incarcerated that raise concerns
about his willingness to commit additional acts of violence. Having weighed the §
3553(a) factors, I find that Willison is not eligible for compassionate release.


                                  V.     CONCLUSION
       For the foregoing reasons, Willison’s motion (Doc. 48) for compassionate release
is denied.


       IT IS SO ORDERED.
       DATED this 16th day of October, 2020.




                                          __________________________
                                          Leonard T. Strand, Chief Judge




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